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| UNITED STATES DISTRICT COURT TRANSCRIPT ORDER COURT USE ONLY

| NORTHERN DISTRICT OF CALIFORNIA Please use one form per court reporter. DUE DATE:
CAND 435 CJA counsel please use Form CJA24
(CAND Rev. 08/2018) Please read instructions on next page.
1a. CONTACT PERSON FOR THiS ORDER 2a, CONTACT PHONE NUMBER 3. CONTACT EMAIL ADDRESS
Ratana, Arden (202) 305-7783 arden.ratana@usdoj.gov

1b. ATTORNEY NAME (if different) 2b. ATTORNEY PHONE NUMBER 3. ATTORNEY EMAIL ADDRESS .
| Erez Reuveni (202) 307-4293 erez.r.reuveni@usdoj.gov
| 4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE) 5. CASE NAME 6. CASE NUMBER
| 450 Fifth Street, NW
| Rm 6042 East Bay Sanctuary Covenant et al v. Barr et al 19-4073

| Washington, DC 20001
|
| 7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)— ©) FTR © APPEAL CRIMINAL 3 In forma pauperis (NOTE: Court order for transcripts must be attached)

| Debra Pas 7 NON-APPEAL 4 CIVIL CJA: Do not use this form: use Form CJA24.

8. THIS TRANSCRIPT ORDER IS FOR:

| 9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

b. SELECT FORMAT(S) (NOTE: ECF access is included

ee a aaa) with purchase of PDF, text, paper or condensed.)

c. DELIVERY TYPE (Choose one per line)

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| 10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:

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|

ORDER & CERTIFICATION (11. & 12.) By signing below, | certify that | will pay all charges (deposit plus additional). 12. DATE

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ce 08/2018) INSTRUCTIONS

Use this form to order the transcription of a record of proceedings. C/A counse/ should use Form C/A24, Before completing this form, please visit cand.uscourts.gov/transcripts
for complete transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.

1. Complete a separate order form for each case number for which transcripts are ordered.
2. Complete a separate order form for each court reporter who reported proceedings in the case.

E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing. (a) sealed cases/ proceedings; (b) non-parties; (c) pro se parties who are not e-filers.

In such cases, mail or hand-deliver a hard copy addressed to the court reporter supervisor (email list available at cand.uscourts.gov/transcripts/contact) at the
Court division where the proceeding was held.

5, Next, the court reporter/transcriber will contact you to confirm estimated costs and delivery options. Deliver payment to the court reporter/transcriber promptly.
Upon receipt of the deposit, the court reporter/transcriber will begin work on the transcript.

6. Unless prepayment is waived, delivery time is computed from the date the court reporter/transcriber receives the deposit, authorized CJA 24 Form, authorization
from Federal Public Defender's Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.

7, The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.

 

ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3 In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
items 5-6. Only one case number may be listed per order.

 

Item 7. Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was audio-
recorded. If minutes have not been filed, contact the court reporter supervisor at the division where the hearing was held.
Item 8. Check appeal OR non-appeal AND criminal OR civil. /n forma pauperis. a court order specifically authorizing transcripts is required before transcripts may be

ordered in forma pauperis.

Item 9a. List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”

Item Qb. Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcripts/rates for details. Unlock
ECF/web access is included at no extra charge with each of the other formats.

Item 9c. There are 7 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
the 14-day delivery rate would be charged.

TRANSCRIPT DELIVERY TIMES:

ORDINARY — 30 calendar days.

14-Day — 14 calendar days.

EXPEDITED — 7 calendar days.

3-Day — 3 calendar days

DaiLy (NEXT DAY) — Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
HOURLY (SAME DAY) — within two (2) hours.

REALTIME — A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
proceedings or immediately following adjournment.

Item 11. Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
| Item 12. Enter the date of signing the order and certification.

 
